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               Exhibit A
                                        Case 2:18-cr-00422-DJH Document 613-1 Filed 05/24/19 Page 2 of 3
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                                                              Lipsitz Green Sci e Cambria : ~
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R~chord P. A'lelsbeck,Jr.

Barry Nelson Cove-~
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George E. R~edei,Jr.
                                         Via Overnight Mail &Email
~.;~F,o~P.S~~E~~,E,                      Kevin M. Rapp
JeffrEy F. RP;n~
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~~;e~~,~  P~$efSO~                       Assistant United States Attorney
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Thomas        °°`~
         C Bumha~r.                      United States Attorney's Office
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~~=e~h~.~~,=a                            E-Mail: kevin.rapp~usdoj.gov
Emib; N. O~Reliy
Richard A. ~lokese~ Ir.

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Erv.n E. McCoy*:obeli                                        Re:        United States v. Lace1,
                                                                                              1 et al., 18-CR-0422-

;~{f`~'B ~~~;`~~
~~cy   M. Beekman                                                       PHX-DLR Defendant Michael Lacey's
 u,<E~:e~,.Rb,~»                                                        Reciprocal Rule 16 Production
Karolin=_ R Falres


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        ~. o ~                            Dear Mr. Ra pp:
~~seFh~.
                                                 As set forth in greater detail in the cover letter accompanying
~~~"``"°"~s~~
R~cho~d D. F~~i~~y                        Defendants' Joint Reciprocal Rule 16 Production dated March 4, 2019,
Dane M.s`'
s`°"",       , °°"=
           Pe~.~ Re6e~r_                  Defendants' Rule 16 obligations are reciprocal in nature and are therefore
~'``~,~~~~, ~,`~~~'~,                     limited by the government's failure to comply with its own Rule 16
~~~E,~ ~~uoRKERs~                         obligations and deadlines. Because the government has not completed its
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R' 'F,' ` ~ ' ;„~~~,E                     Rule 16 disclosul-es in this case ~ Defendants are not obli gated to make
Kenn l. 'i. ~,,,ns
P°"'` '" ~ ~~'°"                          reciprocal disclosures at this time. See Fed. R. Crim. Proc. 16(b)(1)(A) (a
q~ o             , - o , _of ~ ,_ ~ a     defendant's Rule 16 obligations are triggered only if "the government
 p~~°                ~ ~' ~               complies" with its own Rule 16 obligations).
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                                                  Indeed, the government's failure to timely meet its discovery
                                          obligations, including the failure to disclose Brady and Giglio material (which
                                          has been the subject of motion practice), has hobbled Defendants in their
                                          ability to make meaningful Rule 16 disclosures at this tithe. Nonetheless, in
                                          addition to the materials provided in Defendants' Joint Reciprocal Rule 16
                                          ProducCion, Defendant Michael Lacey hereby advises you that he intends to
                                          potentially use at trial:




                                                            BUFFALO         Atd HERST        CHEEKTON✓AGA            LOS ANGELES
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                 Lipsitz Green Sci e Cambria ~:~.


   1. Material produced by the government in discovery

   2. Defense Bates pages DEFLACEY000001 through DEFLACEY000048

       Mr. Lacey reserves the right ~o supplement these disclosures in response to
 the government's continuing disclosures and obligations and as additional
 materials become available to the defense.


                                             Very truly yours,

                                             LIPSITZ GREEN SCIME CAMBRIA
                                             LLP
                                                         _~      ,,
                                                  ~..-
                                             .--_'`

                                       -     ~Paitl J. Cambria. Jr.
                                             Erin McCampbell Pai•is
                                             Attorneys for Michael Lacey




 cc:   AUSA Reginald E. J ones
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        AUSA Margaret Perimeter
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               BUFFALO    AMHERST    CHEEKTOWAGA              LOS ANGELES
